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                                    Document 1
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                                                                       saw2E
                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                                                                FILED:
                                                                March 13,   2007
                             TRANSCRIPT ORDER ACKNOWLEDGMENT
      TO: Tracy Dunlap
          Kathy Chiarizia
      RE: 07-4063 US v. Reece C. Whiting
          8:04-cr-00235-RWT
           07-4059 US v. Learley R. Goodwin
           8:04-cr-00235-RWT

           07-4060 US v. Paulette Martin
           8:04-cr-00235-RWT
           07-4062 US v. Lanora N. Ali
           8:04-cr-00235-RWT
           07-4080 US v. Derrek L. Bynum
           8:04-cr-00235-RWT
           07-4115 US v. Dobie
           8:04-cr-00235-RWT

      A Transcript Order for this case was received by the court of appeals
      on 3/12/07.
      Under the Guidelines for Preparation of Appellate Transcripts in the
      Fourth Circuit, the transcript will be due on 4/12/07. If it is filed
      after that date, financial sanctions will be applicable.

      This transcript will be deemed ordered and due on the above date if a
      response is not mailed within 7 days of receipt of this Acknowledgment
      by the reporter. Do not return this form if the Transcript Order is
      clear, you are the proper person from whom a transcript should be ordered,
      satisfactory financial arrangements have been made, the date of the order
      appears correct and the order is otherwise clear and correct.
      If there are problems with the Transcript Order, check the appropriate
      box below and return a copy to the court of appeals and a copy to the
      district court reporter coordinator.
      [   ] Criminal Justice Act funds have not been approved (CJA 24)
      [   ] Motion for transcript at government expense has not been granted
            [28 U.S.C. section 753(f)]
      [   ] Satisfactory financial arrangements have not been made.
            Reason: [ ] Deposit not received [ ] Other (specify)
            __________________________________________________________________
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      [   ] Transcript Order is unclear - proceedings requested should be more
            specific or dates of proceedings are incorrect.
      [   ] Transcript Order has not been received by reporter or, [ ] was
            received after Transcript Order was received by court of appeals.
      [   ] Other (specify)
            __________________________________________________________________

            __________________________________________________________________
            __________________________________________________________________
